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UN|TED STATES D|STR|CT COURT

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UNITED STATES OF AMERICA

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-v- 2:OTCR20235-01-Clelanu'. D' oil twa kremer-lis

JOHN ALLEN LATON
Les|ie Ballin, Retained
Defense Attorney
200 Jefferson Aven ue, #1250
Niemphis, TN 38103

 

JUDGN|ENT IN A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 198?)

The defendant was found guilty on Count 1 of the indictment on November 22, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section _NM_¢LQM_S_€ Offense Number(s)
Conc|uded
18 U.S.C. § 844(i) Malicious|y Damaging and Destroying by 03/03/2000 f

Means of Fire, a Bui|ding and Flea| Property
Being Used in interstate Commerce

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the |V|andatory
Victims Restitution Act of 1996

|T |S FURTHER ORDEFIED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Seo. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/09/1955 Apri| 18, 2005
Deft’s U.S. Niarshal No.: 17971-076

Defendant’s |V|ai|ing Address:
P.O. Box 336

Henning, TN 38041 nw

ROBERT H. CLELAND
UN|TED STATES DISTR|CT JUDGE

Apri| Zj:g ,2005

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iiiis document entered on the docket Shoet in compliance
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llVlPRlSONNIENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 60 Months under Count 1 of the |ndictment.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States iviarsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. N|arshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer,'

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7, The defendant shall not frequent places where controlled substances are illegally sold, usedl
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| l\/lonetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED FlELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment as directed by the
probation officer;

The defendant shall be prohibited from incurring new credit charges or opening additional
lines of credit without the approval of the probation officer;

The defendant shall provide the probation officer access to any requested financial
information;

The defendant shall cooperate in the collection of DNA.

CR|IV|INAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Restitution
$1 00.00 $126,584.09

The Special Assessment shall be due immediately

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F|NE
No fine imposed

RESTITUT|ON

Flestitution in the amount of $126,584.09 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Priority
Total Amount Amount of Order

Name of Pay£ee of Loss Restitution Ordered or
Percentage

of Payment

city or Henning, ssi ,500.00 $61,500.00
105 South lVlain Street

Henning, TN 38041

Fiestitution: $500.00 insurance

Deductib|e; $61,000.00 Damaged

Vehic|e

Scottsda|e indemnity Company $65,084.09 $65,084.09
Claim #663951

P.O. Box 4120

Scottsdale, AZ 85261-9865

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Fleasons page.

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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. The Court enforced the interest requirement The
defendant shall notify the Court and the U. S. Attorney of any material change in
circumstances that may affect the defendant’s ability to pay restitution.

Unless the court has expressly ordered othenrvise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financia| Ffesponsibi|ity Program, are made to the clerk of the
court, unless othenNise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:0]-CR-20235 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

 

Jennifer LaWrence Webber
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Ste. 800

Memphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

Memphis7 TN 38103

Honorable Robert Cleland
US DISTRICT COURT

